





















Opinion issued November 17, 2011.



In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-11-00424-CV

———————————

darryl
armstrong,
Appellant

V.

jordan
reses supply company, llc, respironics, inc. a/k/a philips respironics, resmed corp.,
and vaughn medical equipment repair service, l.l.c., marcus d. thierry, nicole
baxter-thierry, individually and d/b/a joseph and company a/k/a joseph &amp;
company a/k/a joseph &amp; co., and joseph &amp; company consulting, llc a/k/a
joseph &amp; company llc and d/b/a joseph &amp; company and joseph &amp; co., Appellees



&nbsp;



&nbsp;

On
Appeal from the 268th District Court

Fort
Bend County, Texas



Trial
Court Cause No. 10DCV178015

&nbsp;



&nbsp;

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant, Darryl Armstrong, has neither established
indigence nor paid all the required fees.&nbsp;
See Tex. R. App. P.
5 (requiring payment of fees in civil cases unless indigent), 20.1 (listing
requirements for establishing indigence); see also Tex. Gov’t Code Ann. §§ 51.207,
51.941(a) (Vernon 2005), § 101.041 (Vernon Supp. 2010) (listing fees in court of
appeals); Order Regarding Fees Charged in Civil Cases in the Supreme Court and
the Courts of Appeals and Before the Judicial Panel on Multidistrict
Litigation, Misc. Docket No. 07-9138 (Tex. Aug. 28, 2007), reprinted in Tex. R. App. P.
app. A § B(1)
(listing fees in court of appeals).&nbsp;
After being notified that this appeal was subject to dismissal,
appellant did not adequately respond.&nbsp; See
Tex. R. App. P. 5 (allowing
enforcement of rule); 42.3(c) (allowing involuntary dismissal of case).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We dismiss the appeal for nonpayment
of all required fees.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We dismiss any pending motions as
moot.

PER CURIAM

Panel
consists of Justices Keyes, Higley, and Massengale.

&nbsp;





